Case 1:14-ml-02570-RLY-TAB Document 22553-5 Filed 08/18/22 Page 1 of 1 PageID #:
                                  132950



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTSLIABILITY LITIGATION                                    MDL No. 2570
 __________________________________________

 This Document Relates to Plaintiff : Paul Cornett

 Civil Case 1:16-cv-2123


     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED-
                        SHORT FORM COMPLAINT



        ON THIS DAY came for consideration Paul Cornett’s           Motion for Leave to File a First

 Amended Short Form Complaint. Having considered the Motion, the Court concludes the

 Motion should be granted and, therefore: [1] Plaintiff is hereby granted Leave to File a First

 Amended Short Form Complaint; and [2] the First Amended Short Form Complaint attached to

 this Order is hereby deemed filed.


        Dated this _____ day of __________, 2022



                SO ORDERED:_______________________________________________
